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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF SOUTH CAROLINA
                                COLUMBIA DIVISION

Kylon Middleton, et al.,                      No.: 3:20-cv-01730-JMC

             Plaintiffs,

      v.                                                  Notice of Appeal

Marci Andino, et al.,

             Defendants.


      Notice is hereby given that all Defendants (including the Intervenor-

Defendants) hereby appeal to the United States Court of Appeals for the Fourth

Circuit from the order granting in part the motion for preliminary injunction (ECF

No. 109), entered in this action on September 18, 2020.

                                               Respectfully submitted,


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